Case 1:18-cv-00407-RJJ-RSK ECF No. 22-2, PagelD.77 Filed 07/10/18 Page 1 of 13

Exhibit

Case 1:18-cv-00407-RJJ-RSK_ ECF No. 22-2, PagelD.78 Filed 07/10/18 Page 2 of 13

U.S. Department of Justice PROCESS RECEIPT AND RETURN

United States Marshals Service See "Instructions for Service of Process by U.S Marshal"

PLAINTIFF COURT CASE NUMBER

ELMER RODAS, ET AT. 1:18-CV-407
DEFENDANT TYPE OF PROCESS
MARTIN PAINTING AND MAINTENANCE Co., Inc., et al, {Summons & Complaint

MARTIN PAINTING AND MAINTENANCE Co., Inc., C(O MARILYN LULGIURAI
ADDRESS (Street or RFD, Apartment Ne,, City, State and ZIP Code}

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE
AT

10049 APPLEGATE Brighton, MI. 48114
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

=

Robert Anthony Alvarex (P66954}
Avanti Law Group, PLLC

600 28th St. SW

Wyoming, MI. 4950

Number of process to be
served with this Form 285 | 1

Number of parties to be
served in this case 3

Check for service
on U.S.A.

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (faclude Business and Alternate Addresses,
ee

All Telephone Numbers, and Estimated Times Available for Service): ._ -p
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April 26, 2018 7:22 PM —
CLERK OF COURT

U.S. DISTRICT.SCOURT

BY:_anm_ SCANNED BY: (6
tee
Signature of Attomey other Originator requesting service on behalf of: CT] PLAINTIFE TELEPHONE NUMBER DATE
C] DEFENDANT.

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-— DO NOT WRITE BELOW THIS LINE
Lacknowiedge receipt for the total | Total Process | District of District te Signature of Authcrized USMS Deputy or Clerk Date
mumber of process indicated, Origin Serve : ‘

(Sign only far USM 285 ifmore
than one USM 285 is submitted) 1 No. 040 No. 039 ee Fe 4/20/18

] hereby certify and retum that I 1 have personally served ,L5 have legal evidence of service, I) have wxetthod as shown in "Remarks", the process described
en the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc, shown at the address inserted below,

Mt hereby certify and return that 1 am unable to locate the individual, campany, corporation, ete. named above (See remarks below}

Name and title of individual served (if nor shown above} [1 A person of suitable age and discretion

then residing in defendant's usual place
of abode

Address fcompiete onlp different than shown above} Date Time

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Service Fee ' Total Mileage Charges! Forwarding Fee Total Charges Advance Deposits Amount owed to U.S. Marshal* or
including endeavors) et . (Amount of Refund?)
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Pn $0.00
REMARKS:

Fed Ext “7770 ~52¢2-8)/%

L. CLERK OF THE COURT PRIOR EDITIONS MAY BE USED
2. USMS RECORD

3, NOTICE OF SERVICE
4, BELLING STATEMENT": To be retumed to the U.S, Marshal with payment,

ifany amount is owed, Please remit promptly payable to U.S. Mershal, Form USM-285
5, ACKNOWLEDGMENT OF RECEIPT Rev. 12/80

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82558 Case 1:18-cv-00407-RJJ-RSK EGE’ ROSS" PAQAID 7S FIEO7/10/18 Page 3 of 13

Ex.

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720526

Delivered
Wednesday 4/25/2018 at 3:49 pm

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DELIVERED

Signature not required

GET STATUS UPDATES
OBTAIN PROOF OF DELIVERY

FROM
Grand Rapids, Mi US
TO
BRIGHTON, Mi US

4/25/2018 - Wednesday

3:49 pm

Delivered

Left at front decor Package delivered ta recipient address - release authorized

BRIGHTON, MI

4/25/2018 - Wednesday

$45 am vi
On FedEx vehicle for delivery Q a
NOVI, MI 4

4/25/2018 - Wednesday
7:36 arn

At local FedEx facility
NOVI, MI

4/24/2018 - Tuesday

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NOVI, Mi

4/24/2018 - Tuesday
033 am
At local FedEx facility

NOVI, Ml

(23/2018 - Monday
G44 am

At focal FedEx facility

NOVI, MI

4/23/2018 - Monday

8:34 am

At local FedEx facility
Package not due for delivery

NOVEL Ml

4/23/2018 - Monday

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At local FedEx facility
Package not due for detlvery

NOVI, Mi

4/23/2018 - Monday 2
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7:05 am +
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At local FedEx facility Soe
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4/21/2018 - Saturday
3:14pm
At focal FedEx facility

NOV, Mi

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Ex.

At local FedEx facility

NOVEM

4/21/2018 - Saturday
8:46 am
At local FedEx facility

Package nota

for delivery

NOVI, Mi

4/21/2078 - Saturday
4:05 am
At destination sort facility

ROMULUS, Mt

4/20/201 &- Friday

9:57 pm

Left FedEx origin facility
KENTWOCB, MI

4/20/2018 ~ Friday
76pm

Picked up
KENFWOCD, MI

4/20/2078 - Friday
1:13 pm

Shipment information sent to FedEx

PSOE Case 1:18-cv-00407-RJJ-RSK ECE RNOP32% > BEGaID'B 1 FilgG67/10/18 Page 5 of 13:

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Case 1:18-cv-00407-RJJ-RSK_ ECF No. 22-2, PagelD.82 Filed 07/10/18 Page 6 of 13

U.S. Department of Justice PROCESS RECEIPT AND RETURN

See “Instructions for Service of Process bv US. Marshal"

United States Marshals Service

PLAINTIFF COURT CASE NUMBER
ELMER RODAS, ET AT. / 3:18-CV-407
DEFENDANT TYPE OF PROCESS
MARTIN PAINTING AND MAINTENANCE Co., Inc,, etal, Summons & Complaint

John Doe l,aka MARTIN
ADDRESS (Street or RFD, Apariment No. City, State and ZIP Code)

NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC, TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE {

[0049 APPLEGATE Brighton, MI. 48114
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

Number of process to be
served with this Form 285 | }

=
* Robert Anthony Alvarex (P66954)
Avanti Law Group, PLLC
600 28h St. SW
Wyoming, Mi. 49509

Nurnber of parties te be
served in this case 3

Check for service

on USA.
SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE E (lnc Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Apailabie for Service): oo ~~
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Apri 26, 2078 1:23 PM
CLERK OF COURT
LS, DISTRICT COURT

+ WESTERN DISTRICP OF MICHIG No
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Signature af Attorney other Originator requesting service on behalf oft C1 PLAINTIFF TELEPHONE NUMBER DATE

C] DEFENDANT

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE

i acknowledge rece:pt for the tofal | Total Process | District of District to 2 of Authorized USMS Deputy or Clerk Date,
number of process indicated. Origin Serve

(Sign only for USM 285 if mare .

than one OSM 285 is submitied) | 3 No, 840 | to, 039 4/20/18

T hereby certify and return that I L] have personally served have legal evidence of service, I] have executed as showd’r in "Remarks*, the process deseribed
on the individual , company, corporation, ete., at the address ‘shown above on the on the individual , company, corporation, efe, shown at the address inserted below,

[} thereby certify and return that I am unalsle to locate the individual, company, corporation, etc. named above (See remarks below)

Name and title of individual served (ifmat shown above)

cha person of suitable age and discretion
then residing in defendant's usual place

of abode
Address fcomplete only different than shown above) Date Time g
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Service Fee. Toial Mileage Charges! Forwarding Fee Total Charges Advance Deposits Armount awed te US. Marshal* ir
including endeavors} (Ameunt of Refund*}
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REMARKS:

Fed Ext P7FQQ ~IG} - ROG

i, CLERK OF THE COURT
' 2. USMS RECORD
3. NOTICE OF SERVICE
4, BILLING STATEMENT": To be returned to the U.S. Marshal with payment,
ifany amount ts owed. Please ret promptly payable to US, Marshal. Form USM-285
3. ACKNOWLEDGMENT OF RECEIPT Rev. 12/80

PRIOR EDITIONS MAY BE USED
Deliverec
Wednesday 4/25/2018 at 3:49 pm

= @ =

DELIVERED

Signature not required

GET STATUS UPDATES
OBTAIN PROGF OF DELIVERY

FROM
Grand Rapids, ME US
TO
BRIGHTON, MI US

4/25/2078 - Wednesday

3:49 pm

Delivered

Left at front doar. Package delivered to recipient address - release authorized

BRIGHTON, Ml

4/25/2018 - Wednesday

6:45 am

On FedEx vehicie for delivery
NOVI, Mi

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4/25/2018 - Wednesday
7:36 am
At local FedEx facility

NOVI, Mi

4/24/2018 - Tuesday
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Case 1:18-cv-00407-RJJ-RSK
Ex.

Package not due for delivery

NOVI, Mi}

4/24/2018 - Tuesday
O33 am
At jocai FedEx facility

NOVI, Mi

4/23/2078 - Monday
2.44 am
At local FedEx facility

NOVI, Mi

4/23/2018 - Monday
2:33 am

At local FedEx facility

4/23/2018 - Monday

33 am

At local FedEx facility
Package not due for delivery

NOVI, Mi

4/23/2018 - Monday
7:05 am
At local FedEx facility

NOVE, MI

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ABPOd NSW

4/21/2018 - Saturday
3:14 pm
At local FedEx facility
NOVI, MI

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Case 1:18-cv-00407-RJJ-RSK ECE N0?3995° BRGBIN'SS Figg e7/10/18 Page 9 of 13

Ex.

At focal FedEx facility

NOV. Mi

4/21/2018 - Saturday
8:46 am

At local FedEx facility

Package not que for defivary

NOVI, MI

4/21/2018 - Saturday
4:05 am
At destination sort facility

ROMULUS, Mi

4/20/2018-Friday
G37 pm

Left FedEx origin facility
KENTWOOD, Ml

4/20/2018 - Friday
7.16o0m

Picked up
KENTWOOD, Mi

4/20/2018 - Friday

112 pm
Shipment inforrnation sent to FedEx a
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Case 1:18-cv-00407-RJJ-RSK,_ ECF No. 22-2, PagelD.86 Filed 07/10/18 Page 10 of 13

U.S. Department of Justice
United States Marshals Service

PROCESS RECEIPT AND RETURN
See Fastructions for Service of Process by US Marshal"

PLAINTIFF COURT CASE NUMBER
ELMER RODAS, ET AT. 1:18-CV-407
DEFENDANT TYPE OF PROCESS
MARTIN PAINTING AND MAINTENANCE Co., Inc., et al., Summons & Complaint

John Doe 2, a.k.a. TONY
ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

[0049 APPLEGATE Brighton, MI. 48114
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

i

obert Anthony Alvarex (P66954)
Avanti Law Group, PLLC

600 28th St. SW

Wyoming, ML 49509

NAME. OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TOSERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE ‘

Number of process to be
served with this Form 285 | 1

Number of parties to be
served in this case 3

Check for service
on U.S.A.

SPECIAL INSTRUCTIONS OR OTHER INFORMATION TRAT WILL ASSIST IN EXPEDITING SERVICE (fuclude Business gud Alternate Addresse,
All Teiephone Numbers, and Estimated Tinves Available for Service): rot

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U.S. DISTRICT. Ph
| WESTERN DISTRICT GF MIC
| BY:_anm_ SGANNED BY?
Signature of Attorney other Originator requesting service on behalf of ] PLAINTIFE TELEPHONE NUMBER DATE

CI DEFENDANT

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE

Tacknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date
number of process indicated. Origin Serve

(Sign oniy Jor USM 285 if more eo

than one USM 285 is submitted} 1 No. 040 No. 039 = 4/20/18

I hereby certify and return that | CF have personally served id have legal evidence of service, have executed as shown in "Remarks", the process described
on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted below,

["] [hereby certify and retum that] am unable to locate the individual, company, corporation, ete. named above (See remarks below)

Name and title af individual served fifnol shown above}

Ola person of suitable age and discretion
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Address (complete only different than showrt above) Date Time
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Service Fee Total Mileage Charges| Forwarding Fee Total Charges Advance Deposits | Amount owed to U.S. Marshal* or #7

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REMARKS:
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Fed Ext 7 (21D ~SQ59—-423)9_.

| 1. CLERK OF FHE COURT PRIOR EDITIONS MAY BE USED

2. USMS RECORD
3. NOTICE OF SERVICE

4, BILLING STATEMENT®: To be returned to the U.S. Marshal with payment,
ifany amount is owed, Please remit promptly payable ta U.S. Marshal,

5, ACKNOWLEDGMENT OF RECEIPT

Form USM-285
Rey, 12/86

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772052594312 Ne “ye @
Deliverec
I .
Wednesday 4/25/2018 at 3:49 pm
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DELIVERED
signature not required
GET STATUS UPDATES
OBTAIN PROOF OF DELIVERY
FROM
Grand Rapids, MEUS
To
BRIGHTON, MI US

4/25/2018 - Wednesday

349 pm

Delivered

Left at front docr. Package delivered io recipient address - release authorized

BRIGHTON, MI

4/25/2018 - Wednesday
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3.44 am GG

On FedEx vehicle for delivery “8 OF]

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4/25/2078 - Wednesday

7:36 am
At local FedEx facility
NOVI, MI

4/24/2018 - Tuesday
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usre0"8 Case 1:18-cv-00407-RJJ-RSK ECE NU Poe °BAYeID SH <Eeasr/10/18 Page 12 of 13
Ex.

Package not due for delivery

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4/24/2078 - Tuesday
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4/23/2018 - Monday
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At local FedEx facility

NOVE Mi

4/21/2918 - Saturday
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At local FedEx facility

{21/2018 - Saturcay
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At destination sort facility

ROMULUS, Mi

4/20/7201 8 ~ Friday
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Left FedEx origin facility

KENTWOOD, MI

4/20/2078 - Friday

716 pm
Picked up
KENTWOOD, Mi

4/20/2018 - Friday

1:12 pm
Shipment information sent to FedEx a
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FYI
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